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1    QUIN DENVIR, Bar #049374
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    CHRISTOPHER TODD MACEDO
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )              No. 1:04-cr-05361 OWW
                                          )
12                     Plaintiff,         )
                                          )              STIPULATION TO CONTINUE STATUS
13         v.                             )              CONFERENCE AND ORDER THEREON
                                          )
14   CHRISTOPHER TODD MACEDO,             )              Date: July 5, 2005
                                          )              Time: 9:00 a.m.
15                     Defendant.         )              Judge: Hon. Oliver W. Wanger
                                          )
16   ____________________________________ )
     _
17
18
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective counsel,
19
     LAUREL J. MONTOYA, Assistant United States Attorney, Counsel for Plaintiff, and ERIC V.
20
     KERSTEN, Assistant Federal Defender, Counsel for Defendant Christopher Todd Macedo, that the status
21
     conference in this matter, now scheduled for June 20, 2005, may be continued to July 5, 2005, at 9:00 a.m.
22
     The date currently set for status conference is June 20, 2005. The requested new date is
23
     July 5, 2005, at 9:00 a.m.
24
            This continuance is requested for the reason that the anticipated plea agreement has not yet been
25
     finalized in and additional time is needed to conclude the negotiations and sign the agreement.
26
            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
27
     ///
28
               Case 1:04-cr-05361-OWW Document 23 Filed 06/17/05 Page 2 of 2


1    ///
2    justice, including but not limited to, the need for the period of time set forth herein for effective defense
3    preparation pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).
4                                                                   McGREGOR W. SCOTT
                                                                    United States Attorney
5
                                                                    AUSA Montoya has approved of her
6                                                                   electronic signature being placed here
7    DATED: June 16, 2005                                   By /s/ Laurel J. Montoya
                                                                   LAUREL J. MONTOYA
8
9                                                                   QUIN DENVIR
                                                                    Federal Public Defender
10
11   DATED: June 16, 2005                                   By /s/ Eric V. Kersten
                                                                   ERIC V. KERSTEN
12                                                                 Assistant Federal Defender
                                                                   Attorney for Defendant
13                                                                 CHRISTOPHER TODD MACEDO
14
15
16
17                                                     ORDER
18           IT IS SO ORDERED. The intervening period of delay is excluded in the interests of justice
19   pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).
20                                                          /s/ OLIVER W. WANGER
21   DATED: June 17           , 2005
                                                            OLIVER W. WANGER, Judge
22                                                          United States District Court
                                                            Eastern District of California
23
24
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28
     Stipulation to Continue Status Conference
     and [Proposed] Order Thereon                           2
